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                     Exhibit C
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                                                                                           Peter H. White
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                                                                                     Pete.White@srz.com



October 4, 2023

BY E-MAIL

Sam Buffone, Esq.
Black & Buffone PLLC
1400 Eye St. NW, Suite 200
Washington, DC 20005

RE: United States ex rel. Crutcher v. FGMC, No. 1:16-cv-3812-TWT (N.D. Ga.) and In re FGMC,
    No. 22-10584 (CTG) (Bankr. D. Del.)

Dear Counsel:

The alter ego, veil piercing, and other vicarious liability theories Relator asserts in the FCA case are
barred. Despite that, you have continued to pursue them in violation of the Bankruptcy Court’s
November 2022 Confirmation Order. See D. I. 671 at 29–30, 34–35; D. I. 671-1 at 92. On September
5, 2023, the Bankruptcy Court, in your words, “merely reaffirm[ed]” that holding, Dkt. 106 at 8, which
you did not appeal.
You were “directed to take all actions necessary to dismiss the Released Claims” from the FCA case
because the Confirmation Order “enjoined, barred, and estopped” Relator “from asserting, pursuing, or
prosecuting the Released Claims in any forum.” D. I. 951, ¶¶ 4–5. You were “directed to immediately
cease and refrain from any further acts to . . . continue . . . to prosecute, assert, or enforce the Released
Claims.” Id., ¶ 4. You have not complied. Instead, you have opposed further briefing on dismissal,
cross-moved to transfer Released Claims, and cross-moved to compel discovery on claims you were
directed to dismiss and enjoined from continuing. All of these actions are in direct violation of the
Bankruptcy Court’s orders.
We intend to move for contempt and sanctions in the Bankruptcy Court and will seek daily fines until
your client’s obligations under the Bankruptcy Court’s orders are fully satisfied, in addition to the
attorney’s fees and other expenses incurred as a result of your noncompliance with binding court orders.
Please let us know by the close of business today whether you plan to dismiss the FCA action in
compliance with the Bankruptcy Court’s orders. If we do not have that confirmation by 5:00 p.m. today,
we will move for contempt and sanctions.
Very truly yours,

Peter H. White
